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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER REGARDING SUBMISSIONS
                                                                         10   This Order Relates To:                  )   IN SUPPORT OF DISPOSITIVE
                               For the Northern District of California
United States District Court




                                                                                                                      )   MOTIONS
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                                                                      )
                                                                         13                                           )
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                                                                         16                                           )
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                                                                         18        In the coming weeks, the parties will complete briefing on
                                                                         19   dispositive motions, motions in limine, and other non-dispositive
                                                                         20   motions.   The Court issues this order to simplify and streamline
                                                                         21   the parties' submissions and the Court's consideration of those
                                                                         22   submissions.
                                                                         23        First, pursuant to the undersigned's Civil Standing Order and
                                                                         24   Civil Local Rule 5-1(e)(7), the parties are required to file paper
                                                                         25   copies of documents that are electronically filed, and are required
                                                                         26   to submit exhibits of greater than two inches in tabbed three ring
                                                                         27   binders.   To ease administrative burdens and the limits on space,
                                                                         28   the Court instead ORDERS that the following rules shall govern
                                                                               Case 3:07-cv-05944-JST Document 3398 Filed 01/16/15 Page 2 of 3




                                                                          1   courtesy copies for the remaining dispositive motion filings,
                                                                          2   Daubert motions, and other motions in limine.
                                                                          3     Paper courtesy copies no longer need to be submitted except for
                                                                          4   the following items:
                                                                          5        Briefs (both unredacted and redacted copies),
                                                                          6        full or excerpted expert reports (in three ring binders if
                                                                          7         necessary), and
                                                                          8        administrative motions for leave to file under seal and
                                                                          9         supporting declarations.
                                                                         10   The parties may submit any additional materials (including the
                               For the Northern District of California
United States District Court




                                                                         11   exhibits parties seek to have filed under seal and all other
                                                                         12   exhibits or declarations) in electronic format whether on a CD or
                                                                         13   flash drive.
                                                                         14         Second, in conjunction with the parties' submission of replies
                                                                         15   in support of dispositive motions on January 26, the Court ORDERS
                                                                         16   the parties to confer and file a single spreadsheet or other
                                                                         17   document showing, in tabular format, the dispositive motions that
                                                                         18   are still active and against what parties they remain active.      This
                                                                         19   document will help the Court determine which motions remain active
                                                                         20   in light of the numerous recent settlements and other dismissals.
                                                                         21   The parties need not follow this format precisely, but to provide
                                                                         22   an example of the information the Court would like the parties to
                                                                         23   provide, here is a suggestion:
                                                                         24   ///
                                                                         25   ///
                                                                         26   ///
                                                                         27   ///
                                                                         28   ///



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                                                                              ECF   Movant    Motion               Adverse Parties       Opp'n   Reply
                                                                          1   No.                                                        ECF     ECF
                                                                          2                                                              No.     No.
                                                                              2976 Hitachi    Motion for           IPPs,                 3274    X
                                                                          3        Parties    Summary              Electrograph,
                                                                                   (joinder   Judgment Based       Circuit City,
                                                                          4        by         on Lack of           Best Buy, Target,
                                                                          5        Toshiba,   Evidence of          Sears, Interbond,
                                                                                   ECF No.    Participation        Office Depot,
                                                                          6        3010)      in Alleged           CompuCom, Costco,
                                                                                              Conspiracy           P.C. Richard &
                                                                          7                                        Son, Schultze,
                                                                                                                   and Tech Data
                                                                          8
                                                                          9   If, because of a settlement, a motion is no longer active against

                                                                         10   one of the initially adverse parties, the parties shall indicate
                               For the Northern District of California
United States District Court




                                                                         11   that using strikethrough, footnote, or some other means.           If an

                                                                         12   entire motion is no longer necessary the parties shall indicate

                                                                         13   that using similar means.     This document should be submitted both

                                                                         14   on ECF and in electronic format to the Court's proposed order email

                                                                         15   inbox, SCpo@cand.uscourts.gov.

                                                                         16
                                                                         17         IT IS SO ORDERED.

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                                                                         19         Dated: January 16, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
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